          Case 1:21-cr-00670-CJN Document 92 Filed 07/01/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CRIMINAL NO. 21-cr-670
               v.                              :
                                               :
STEPHEN K. BANNON,                             :
                                               :
                       Defendant.              :

   UNITED STATES’ MOTION TO MODIFY SCHEDULING ORDER TO REMOVE
      REQUIREMENT THAT PRETRIAL STATEMENT BE A JOINT FILING

       The Government respectfully moves to modify the scheduling order so that the parties are

not required to engage in a meet-and-confer process with respect to the remaining parts of the

pretrial statement that are due on July 11, 2022. ECF No. 25 ¶ 7. The Government proposes that

the parties instead be required to each file their proposed voir dire, statement of the case, proposed

verdict form, list of witnesses, and exhibit lists on July 8, 2022, and to file objections to the other

party’s submission on July 11, 2022. This will not create prejudice to either the schedule or the

parties because, to have engaged in an appropriate meet-and-confer process, the parties would have

needed to exchange these items before July 8 in any event and the Court will still have all of the

materials by July 11. The Defendant has informed the Government that he opposes this motion.

       The Government makes this motion because, as is evident from the parties’ submissions

relating to proposed jury instructions, the meet-and-confer process has failed in its primary purpose

of having the parties’ narrow the issues for the Court, and, unfortunately, proven to be inefficient.

For example, the Government had to file separately on jury instructions in any event, and, even

though there appear to be potential areas of agreement despite different wording between the

parties’ proposals on the elements, as noted in the Government’s objections to the Defendant’s late

proposals, ECF No. 90, the parties were not able to try to resolve these before submitting proposals
            Case 1:21-cr-00670-CJN Document 92 Filed 07/01/22 Page 2 of 2




to the Court since the Defendant did not share his views on the elements before the afternoon of

the filing deadline. The Government reached out to the Defendant on Monday, June 27, 2022, to

begin the meet-and confer process on the remaining portions of the pretrial statement, but the

Defendant has not, to date, responded.

          Accordingly, the Government requests that the scheduling order be modified to require the

parties to file their respective proposals on the remaining issues in the pretrial statement on July 8,

2022, and to file their objections on July 11, 2022. As noted above, this will not prejudice the

Defendant because, if the parties were required to engage in a meet-and-confer process, he would

need to provide his proposals to the Government well before July 8 to provide sufficient time to

confer.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               D.C. Bar No. 481052

                                       By:     /s/ Amanda R. Vaughn
                                               J.P. Cooney (D.C. 494026)
                                               Molly Gaston (VA 78506)
                                               Amanda R. Vaughn (MD)
                                               Assistant United States Attorneys
                                               United States Attorney’s Office
                                               601 D Street, N.W.
                                               Washington, D.C. 20530
                                               (202) 252-1793 (Vaughn)
                                               amanda.vaughn@usdoj.gov




                                                  2
